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                              Exhibits Table of Contents 1:

      Declaration  Declaration of Jessica Magee on behalf of
                   H&K
      Declaration Declaration of Jesse M. Daves on behalf of
                   BDO
      Declaration Declaration of Jason McNeill on behalf of
                   MVM
      Declaration Declaration of Becky McGee
      Exhibit A    SFAR Report
      Exhibit B    [Proposed] Order
      Exhibit C    Summary of H&K Fees by Professional
      Exhibit C-1 Summary of H&K Work and Discounts by
                   Timekeeper and Attorney Category
      Exhibit D    Summary of H&K Fees by Activity Category
      *Exhibit E   H&K’s Daily Time Records
      Exhibit F    Summary of Costs and Expenses to the
                   Receivership Estate
      Exhibit F-1 H&K’s Reimbursable Expense Detail for
                   Application Period
      *Exhibit F-2 Summary of Services Provided by BDO and its
                   Daily Time Records
      *Exhibit F-3 Summary of Services Provided by MVM and
                   its Daily Time Records
      *Exhibit F-4 Summary of Services Provided by Becky
                   McGee and her Daily Time Records



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      Each of the Exhibits with a * symbol have been filed under seal.
